   Case: 2:22-cr-00223-ALM Doc #: 48 Filed: 03/03/25 Page: 1 of 1 PAGEID #: 237




                        N THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

 United States of America,                     :
                                               :
               Plaintiff,                      :          NOTICE
                                               :
          v.                                   :          Case No. 2:22-cr-223
                                               :
 Rathnakishore Giri,                           :          JUDGE MARBLEY
                                               :
               Defendant.                      :


        TAKE NOTICE that a proceeding in this case has been set for the place, date, and time
set forth below:

 Place:        UNITED STATES DISTRICT COURT                Courtroom #331
               85 Marconi Boulevard
               Columbus, OH 43215                          May 23, 2025 @ 9:00 a.m.

                                                           **If an interpreter is needed,
                                                           please notify ASAP**


TYPE OF PROCEEDING:                        SENTENCING

**MANDATORY BRIEFING REQUIREMENT:** Counsel are to submit sentencing
memoranda by May 12, 2025. Said memoranda shall address, inter alia, the applicability of
the factors set forth in 18 U.S.C. §3553(a) and the bases for any proposed upward or
downward variance from the applicable advisory guidelines. The memoranda shall not
exceed ten (10) pages, except by leave of Court. Reply memoranda, while not necessary, shall
be filed not less than three (3) days prior to the sentencing hearing. Reply memoranda shall
not exceed five (5) pages, except by leave of Court.


DATE: March 3, 2025                                ALGENON L. MARBLEY
                                                   United States District Judge




                                                   (By) Diane M. Stash, Deputy Clerk
                                                   (614) 719-3265
